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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                                      04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                       Defendants.

_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge

                                                ORDER

       The New York Civil Liberties Union ("NYCLU") has made an application for leave “to

participate as amicus curiae [in the instant case]” so as to have the ability to “file briefs and to

participate in oral argument on legal issues” addressed to “the lawfulness of warrantless, domestic

wiretapping by the National Security Agency.” NYCLU Feb. 15, 2005 Ltr. Appl., p. 1 [dkt. # 179].

       The parties in this action and the NYCLU shall submit legal briefs, not to exceed ten (10)

pages in length, addressed to the standard for granting or denying such an application, and

submitting any arguments for or against granting the application in this case. All briefs shall be

filed on or before March 1, 2006.

T IS SO ORDERED

DATED:February 17,2006
